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                             United States District Court
                                       for the
                             Southern District of Florida

    United States of America,             )
    Plaintiff                             )
                                            Criminal Case No. 16-20549-CR-
                                          )
                                            Scola
    v.                                    )
                                          )
                                            Inmate No. 13741-104
    Odette Barcha,                        )
    Defendant.                            )
             Order on Defendant’s Motion for Compassionate Release
          Now before the Court is the Defendant Odette Barcha’s motion for
   compassionate release pursuant to 18 U.S.C. § 3582(c)(1), requesting that the
   Court release Barcha from prison due to threat posed by the Covid-19 pandemic.
   For the reasons set forth below, the Court grants the Defendant’s motion (ECF
   No. 1492).
          As we all know, the Covid-19 pandemic poses a serious danger to society,
   and especially to at-risk or vulnerable inmates. Despite the efforts taken by the
   Federal Bureau of Prisons intended to keep inmates safe (which are outlined in
   the Government’s response), the Federal Bureau of Prisons cannot guarantee
   that any given inmate will not get sick and die from Covid-19, especially since
   inmates are confined in relatively close quarters. (See ECF No. 1494 at 3-4.) In
   light of this unprecedented situation, Attorney General Barr has urged the
   Bureau of Prisons to transfer inmates to home confinement where appropriate
   to decrease the risks to their health. Memorandum from the Attorney General
   (Apr. 3, 2020). The memorandum states that inmates over 60 years of age with
   severe pre-existing medical conditions serving sentences for non-violent crimes
   may be transferred to home confinement. (Id. at 2.) After an inmate has
   exhausted his or her administrative remedies with the Bureau of Prisons or the
   warden, 1 an inmate may file a motion with the district court requesting
   compassionate release under 18 U.S.C.A. § 3582(c)(1)(A) due to “extraordinary
   and compelling” circumstances.


         1Under 18 U.S.C.A. § 3582(c)(1)(A), the Court may consider a defendant’s
   motion for compassionate release “after the defendant has fully exhausted all
   administrative rights to appeal a failure of the Bureau of Prisons to bring a
   motion on the defendant's behalf or the lapse of 30 days from the receipt of such
   a request by the warden of the defendant's facility, whichever is earlier.”
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          Under the relevant Sentencing Guidelines Policy Statement, the Court
   “may reduce a term of imprisonment . . . if, after considering the factors set forth
   in 18 U.S.C. § 3553(a), to the extent they are applicable, the court determines
   that. . . extraordinary and compelling reasons warrant a reduction.” § 1B1.13.
   The Court must also find that the defendant “is not a danger to the safety of any
   other person or to the community, as provided in 18 U.S.C. § 3142(g).” Id. at
   policy stmt. Based on this framework, in order to qualify for compassionate
   release, the Court must find extraordinary and compelling reasons warrant
   Barcha’s release, that she is not a danger to the community, and consider the
   factors in 18 U.S.C. § 3553(a).
          Courts have repeatedly held that if an inmate has a chronic medical
   condition that has been identified by the Centers for Disease Control as elevating
   an inmate’s risk of becoming seriously ill from COVID-19, that condition may
   constitute “extraordinary and compelling reasons.” See, e.g., United States v.
   Oreste, Case No. 14-20349 (S.D. Fla. Apr. 6, 2020) (Scola, J.); United States v.
   Minor, Case No. 18-80152 (S.D. Fla. Apr. 17, 2020) (Middlebrooks, J.); United
   States v. Platten, Case No. 08-cr-80148 (S.D. Fla. Apr. 17, 2020) (Middlebrooks,
   J.); United States v. Nieves Suarez, Case No. 18-20175 (S.D. Fla. Apr. 20, 2020)
   (Cooke, J.). Therefore, the question for the Court is whether Barcha’s health
   conditions coupled with the coronavirus pandemic constitute “extraordinary and
   compelling” reasons warranting her immediate release.
          Barcha suffers from a chronic condition called Lupus, which is a type of
   autoimmune disease that compromises her immune system’s ability to fight
   viruses. The Centers for Disease Control has flagged Lupus, as well as similar
   immune deficiencies, as a condition which puts those who have it at a high risk
   of contracting a severe case of Covid-19. 2 She also has rheumatoid arthritis,
   diverticulitis, and hypertension. She argues that these conditions, especially
   coupled with Lupus, can greatly increase the complications from the
   coronavirus. Crucially, the medical staff at FCI Aliceville where she is confined as
   well as the warden of that institution, Patricia V. Bradley, both recommended that
   she be released from prison due to her severe medical conditions. (ECF No. 1494-
   2.) Based on the increased risk of death posed by COVID-19 pandemic and
   Barcha’s severe health conditions, the Court finds that extraordinary and
   compelling reasons warrant Barcha’s release.
          The Court must also evaluate whether Barcha is a danger to the safety of
   others or the community under 18 U.S.C. § 3142(g). On January 23, 2019,


         2Center for Disease Control and Prevention, Cases in U.S., updated April
   5,     2020,      at     https://www.cdc.gov/coronavirus/2019-ncov/cases-
   updates/cases-in-us.html.
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   Barcha pled guilty to conspiracy to defraud the United States and pay and
   receive healthcare kickbacks. She has no history of committing violent offenses,
   and tellingly, the Government does not argue that she is a danger to the
   community. Moreover, she accepted responsibility for her actions, cooperated
   with the Government, and testified as a government witness at the trial of her
   co-defendant Philip Esformes. That she was convicted of a nonviolent crime and
   has no history of violence shows that she is not a danger to the safety of others
   or the community.
          Lastly, the Court will consider the applicable 18 U.S.C. § 3553(a) factors.
   Here, the nature and circumstances of the offense and the history and
   characteristics of the offender, see § 3553(a)(1), coupled with the need to ensure
   adequate punishment, deterrence, and community protection, see id. at (a)(2)(A-
   C), and to avoid unwarranted disparity, see id. at (a)(6), do not warrant her
   continued incarceration. As stated above, Barcha does not have a history of
   committing violent offenses, nor does she pose a danger to the community.
   Moreover, her truthful cooperation with the Government culminating in her
   testifying against her co-defendant Philip Esformes shows that she has been
   rehabilitated. She was sentenced to fifteen months in prison for her crime, and,
   as of today, she has served almost five out of the fifteen months. She would likely
   be released to a half-way house in a little over four months (with six months
   remaining on her sentence), so the actual reduction in her sentence due to this
   order is slight. Continued confinement in prison for the last few months of her
   sentence is unnecessary to serve the purposes of punishment under § 3553(a)(2).
   Every day that Barcha spends in prison, she is at risk of contracting a dangerous
   and severe case of COVID-19 and therefore, her release is warranted.

         In sum, the Court grants Odette Barcha’s motion (ECF No. 1492) and
   orders as follows:

          1. The Defendant’s sentence of imprisonment is hereby reduced to time
   served, effective immediately. Upon release from imprisonment, the Defendant
   shall comply with all standard conditions of supervised release.

          2. The Defendant must report in-person to the United States Probation
   Office within 72 hours of her release.

        The Clerk is directed to immediately forward a copy of this order to the
   Bureau of Prisons, the U.S. Marshal, and Probation.
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         Done and ordered at Miami, Florida, on May 18, 2020.

                                           ________________________________
                                           Robert N. Scola, Jr.
                                           United States District Judge
